 Fill in this information to identify your case:

 Debtor 1                   Robert Daniel Fisher
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Kimberly Grace Fisher
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF PENNSYLVANIA

 Case number           1:23-bk-01207
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             213,900.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              92,852.35

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             306,752.35

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             232,256.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                8,733.23

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              82,027.75


                                                                                                                                     Your total liabilities $               323,016.98


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,342.20

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                4,746.66

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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              Case 1:23-bk-01207-HWV                                 Doc 11 Filed 06/09/23 Entered 06/09/23 14:40:39                                                       Desc
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 Debtor 1      Robert Daniel Fisher
 Debtor 2      Kimberly Grace Fisher                                                      Case number (if known) 1:23-bk-01207

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $    6,461.20


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              8,733.23

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 8,733.23




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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          Case 1:23-bk-01207-HWV                               Doc 11 Filed 06/09/23 Entered 06/09/23 14:40:39                          Desc
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Fill in this information to identify your case and this filing:

Debtor 1                    Robert Daniel Fisher
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Kimberly Grace Fisher
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF PENNSYLVANIA

Case number            1:23-bk-01207                                                                                                                            Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       1992 Hunterstown Hampton Rd.                                                   Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       New Oxford                        PA        17350-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $213,900.00                $213,900.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only
                                                                                      Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Value is CMA minus 7% Cost of Sale


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $213,900.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1



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Debtor 1         Robert Daniel Fisher
Debtor 2         Kimberly Grace Fisher                                                                             Case number (if known)       1:23-bk-01207

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      GMC                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Acadia                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2017                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:                88000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                  $20,456.00                 $20,456.00
                                                                 (see instructions)



  3.2    Make:      Jeep                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Cherokee                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2014                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:               125000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Vehicle: Vehicle currently not
         running, needs $3,000 worth of                         Check if this is community property                                  $13,438.00                 $13,438.00
         work.                                                   (see instructions)




  3.3    Make:      Audi                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     TT                                          Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2003                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:              120,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Vehicle: Vehicle off road for
         years, in need of repairs                              Check if this is community property                                    $3,600.00                 $3,600.00
                                                                 (see instructions)



  3.4    Make:      Jeep                                     Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Wrangler                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2001                                        Debtor 2 only                                                Current value of the      Current value of the
         Approximate mileage:              185,000              Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         Vehicle: Needs new rear end,
         off road                                               Check if this is community property                                    $3,076.00                 $3,076.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $40,570.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
Official Form 106A/B                                                   Schedule A/B: Property                                                                         page 2



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Debtor 1      Robert Daniel Fisher
Debtor 2      Kimberly Grace Fisher                                                                 Case number (if known)     1:23-bk-01207

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               Living Room: Four Couches ($150); Bookcase ($10); Two Desks
                               ($25); Two Chairs ($10); Table ($5); Five Lamps ($35); Misc. Decor
                               ($100)                                                                                                              $335.00


                               Bedrooms: Two Beds ($100); Two Chairs ($15); Dresser ($30); Two
                               Chest of Drawers ($40); Desk ($10); Mirror ($5); Four Lamps ($25);
                               Decor ($30)                                                                                                         $255.00


                               Kitchen: Table ($30); Six Chairs ($30); Microwave ($25);
                               Refrigerator ($100); Deep Freezer ($75); Dishwasher ($50);
                               Washing Machine/Dryer Combo ($200); Stove ($50); Dishes ($15);
                               Cookware ($20); Silverware ($7); Misc. ($60)                                                                        $662.00


                               Other Rooms: Desk ($20); Chair ($5); Vacuum Cleaner ($10); Tools
                               ($500); Power Tools ($300); Lawn Mower ($250)                                                                     $1,085.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Four Televisions ($175)                                                                                             $175.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

                               Silver coins                                                                                                      $3,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                               Fishing rods & tackle                                                                                               $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

                               1 shotgun                                                                                                           $100.00


11. Clothes
      Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
Official Form 106A/B                                        Schedule A/B: Property                                                                    page 3



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Debtor 1        Robert Daniel Fisher
Debtor 2        Kimberly Grace Fisher                                                                                       Case number (if known)   1:23-bk-01207

      Yes. Describe.....

                                          Wearing Apparel                                                                                                             $300.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                                          Misc. Jewelry                                                                                                              $2,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                                          Animals: Sheepadoodle, Newfypoo, Old English Sheepdog, 5 cats,
                                          3 goats, 3 mini pigs, 3 alpaca, 2 turkeys, 30+ chickens                                                                    $1,500.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                            $9,512.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash                                    $20.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                CARO Federal Credit Union                                                $0.00



                                            17.2.       Checking                                BELCO                                                                 $571.00



                                            17.3.       Savings                                 Navy Federal Credit Union                                                $5.00




Official Form 106A/B                                                                     Schedule A/B: Property                                                          page 4



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Debtor 1        Robert Daniel Fisher
Debtor 2        Kimberly Grace Fisher                                                                      Case number (if known)   1:23-bk-01207


                                   17.4.    Savings                      BELCO                                                                       $5.00



                                   17.5.    Savings                      CARO Federal Credit Union                                                   $0.00



                                   17.6.    Checking                     Navy Federal Credit Union                                                   $2.00



                                   17.7.                                 Paypal                                                                      $0.00



                                   17.8.                                 Venmo                                                                       $0.00



                                   17.9.                                 CashApp                                                                     $1.18


                                   17.10
                                   .     Savings                         Navy Federal Credit Union                                                   $0.51


                                   17.11
                                   .                                     PayPal                                                                      $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                            % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                           Institution name:

                                                                         Fidelity Net Benefits                                                  $35,165.66


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                         Institution name or individual:


Official Form 106A/B                                              Schedule A/B: Property                                                             page 5



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Debtor 2       Kimberly Grace Fisher                                                                 Case number (if known)     1:23-bk-01207

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............     Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............     Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                Amended Tax Returns for Tax Years 2017
                                                   and 2019-21 -- amount is pending IRS
                                                   review                                                  Federal                                $7,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


Official Form 106A/B                                          Schedule A/B: Property                                                                    page 6



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Debtor 2         Kimberly Grace Fisher                                                                                                 Case number (if known)   1:23-bk-01207

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................              $42,770.35


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................              $213,900.00
56. Part 2: Total vehicles, line 5                                                                           $40,570.00
57. Part 3: Total personal and household items, line 15                                                       $9,512.00
58. Part 4: Total financial assets, line 36                                                                  $42,770.35
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $92,852.35              Copy personal property total           $92,852.35

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $306,752.35




Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 7



           Case 1:23-bk-01207-HWV                                      Doc 11 Filed 06/09/23 Entered 06/09/23 14:40:39                                                    Desc
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Fill in this information to identify your case:

Debtor 1                Robert Daniel Fisher
                        First Name                   Middle Name                Last Name

Debtor 2                Kimberly Grace Fisher
(Spouse if, filing)     First Name                   Middle Name                Last Name


United States Bankruptcy Court for the:        MIDDLE DISTRICT OF PENNSYLVANIA

Case number           1:23-bk-01207
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1992 Hunterstown Hampton Rd. New                       $213,900.00                                $10,511.00      11 U.S.C. § 522(d)(1)
     Oxford, PA 17350
     Value is CMA minus 7% Cost of Sale                                            100% of fair market value, up to
     Line from Schedule A/B: 1.1                                                   any applicable statutory limit

     2014 Jeep Cherokee 125000 miles                          $13,438.00                                 $4,450.00     11 U.S.C. § 522(d)(2)
     Vehicle: Vehicle currently not
     running, needs $3,000 worth of work.                                          100% of fair market value, up to
     Line from Schedule A/B: 3.2                                                   any applicable statutory limit

     2014 Jeep Cherokee 125000 miles                          $13,438.00                                 $4,987.00     11 U.S.C. § 522(d)(5)
     Vehicle: Vehicle currently not
     running, needs $3,000 worth of work.                                          100% of fair market value, up to
     Line from Schedule A/B: 3.2                                                   any applicable statutory limit

     2003 Audi TT 120,000 miles                                $3,600.00                                 $3,600.00     11 U.S.C. § 522(d)(2)
     Vehicle: Vehicle off road for years, in
     need of repairs                                                               100% of fair market value, up to
     Line from Schedule A/B: 3.3                                                   any applicable statutory limit

     2001 Jeep Wrangler 185,000 miles                          $3,076.00                                 $3,076.00     11 U.S.C. § 522(d)(5)
     Vehicle: Needs new rear end, off
     road                                                                          100% of fair market value, up to
     Line from Schedule A/B: 3.4                                                   any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 4



             Case 1:23-bk-01207-HWV                    Doc 11 Filed 06/09/23 Entered 06/09/23 14:40:39                                      Desc
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Debtor 1    Robert Daniel Fisher
Debtor 2    Kimberly Grace Fisher                                                              Case number (if known)     1:23-bk-01207
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Living Room: Four Couches ($150);                          $335.00                                   $335.00        11 U.S.C. § 522(d)(3)
    Bookcase ($10); Two Desks ($25);
    Two Chairs ($10); Table ($5); Five                                           100% of fair market value, up to
    Lamps ($35); Misc. Decor ($100)                                              any applicable statutory limit
    Line from Schedule A/B: 6.1

    Bedrooms: Two Beds ($100); Two                             $255.00                                   $255.00        11 U.S.C. § 522(d)(3)
    Chairs ($15); Dresser ($30); Two
    Chest of Drawers ($40); Desk ($10);                                          100% of fair market value, up to
    Mirror ($5); Four Lamps ($25); Decor                                         any applicable statutory limit
    ($30)
    Line from Schedule A/B: 6.2

    Kitchen: Table ($30); Six Chairs                           $662.00                                   $662.00        11 U.S.C. § 522(d)(3)
    ($30); Microwave ($25); Refrigerator
    ($100); Deep Freezer ($75);                                                  100% of fair market value, up to
    Dishwasher ($50); Washing                                                    any applicable statutory limit
    Machine/Dryer Combo ($200); Stove
    ($50); Dishes ($15); Cookware ($20);
    Silverware ($7); Misc. ($60)
    Line from Schedule A/B: 6.3

    Other Rooms: Desk ($20); Chair ($5);                    $1,085.00                                  $1,085.00        11 U.S.C. § 522(d)(3)
    Vacuum Cleaner ($10); Tools ($500);
    Power Tools ($300); Lawn Mower                                               100% of fair market value, up to
    ($250)                                                                       any applicable statutory limit
    Line from Schedule A/B: 6.4

    Four Televisions ($175)                                    $175.00                                   $175.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 7.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Silver coins                                            $3,000.00                                  $3,000.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 8.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Fishing rods & tackle                                      $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 9.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    1 shotgun                                                  $100.00                                   $100.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 10.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Wearing Apparel                                            $300.00                                   $300.00        11 U.S.C. § 522(d)(3)
    Line from Schedule A/B: 11.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Misc. Jewelry                                           $2,000.00                                  $2,000.00        11 U.S.C. § 522(d)(4)
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 4



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Debtor 1    Robert Daniel Fisher
Debtor 2    Kimberly Grace Fisher                                                              Case number (if known)     1:23-bk-01207
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Animals: Sheepadoodle, Newfypoo,                        $1,500.00                                  $1,500.00        11 U.S.C. § 522(d)(3)
    Old English Sheepdog, 5 cats, 3
    goats, 3 mini pigs, 3 alpaca, 2                                              100% of fair market value, up to
    turkeys, 30+ chickens                                                        any applicable statutory limit
    Line from Schedule A/B: 13.1

    Cash                                                        $20.00                                    $20.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: BELCO                                            $571.00                                   $571.00        11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Navy Federal Credit Union                            $5.00                                     $5.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: BELCO                                                $5.00                                     $5.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.4
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Navy Federal Credit Union                           $2.00                                     $2.00       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.6
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    CashApp                                                       $1.18                                     $1.18       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.9
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Navy Federal Credit Union                            $0.51                                     $0.51       11 U.S.C. § 522(d)(5)
    Line from Schedule A/B: 17.10
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Fidelity Net Benefits                                  $35,165.66                                $35,165.66         11 U.S.C. § 522(d)(12)
    Line from Schedule A/B: 21.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Federal: Amended Tax Returns for                        $7,000.00                                  $7,000.00        11 U.S.C. § 522(d)(5)
    Tax Years 2017 and 2019-21 --
    amount is pending IRS review                                                 100% of fair market value, up to
    Line from Schedule A/B: 28.1                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No

Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 3 of 4



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Debtor 1    Robert Daniel Fisher
Debtor 2    Kimberly Grace Fisher                                          Case number (if known)   1:23-bk-01207

               Yes




Official Form 106C                  Schedule C: The Property You Claim as Exempt                                      page 4 of 4



           Case 1:23-bk-01207-HWV       Doc 11 Filed 06/09/23 Entered 06/09/23 14:40:39                             Desc
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Fill in this information to identify your case:

Debtor 1                   Robert Daniel Fisher
                           First Name                      Middle Name                      Last Name

Debtor 2                   Kimberly Grace Fisher
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             MIDDLE DISTRICT OF PENNSYLVANIA

Case number           1:23-bk-01207
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Caro Federal Credit Un                   Describe the property that secures the claim:                 $24,866.00               $20,456.00            $4,410.00
        Creditor's Name                          2017 GMC Acadia 88000 miles

                                                 As of the date you file, the claim is: Check all that
        4480 Rosewood Drive                      apply.
        Columbia, SC 29209                           Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                      car loan)
    Debtor 2 only
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

                                Opened
                                09/20 Last
                                Active
Date debt was incurred          11/15/22                  Last 4 digits of account number        1132




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2



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Debtor 1 Robert Daniel Fisher                                                                                Case number (if known)   1:23-bk-01207
              First Name                  Middle Name                      Last Name
Debtor 2 Kimberly Grace Fisher
              First Name                  Middle Name                      Last Name


2.2     Caro Federal Credit Un                     Describe the property that secures the claim:                      $4,001.00           $13,438.00           $0.00
        Creditor's Name                            2014 Jeep Cherokee 125000 miles
                                                   Vehicle: Vehicle currently not
                                                   running, needs $3,000 worth of
                                                   work.
                                                   As of the date you file, the claim is: Check all that
        4480 Rosewood Drive                        apply.
        Columbia, SC 29209                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                03/14 Last
                                Active
Date debt was incurred          1/31/23                     Last 4 digits of account number         1129


        PennyMac Loan
2.3                                                                                                                $203,389.00           $213,900.00           $0.00
        Services, LLC                              Describe the property that secures the claim:
        Creditor's Name                            1992 Hunterstown Hampton Rd.
        Attn: Correspondence                       New Oxford, PA 17350
        Unit                                       Value is CMA minus 7% Cost of Sale
                                                   As of the date you file, the claim is: Check all that
        Po Box 514387                              apply.
        Los Angeles, CA 90051                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                10/20 Last
                                Active
Date debt was incurred          11/30/22                    Last 4 digits of account number         8374



  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $232,256.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $232,256.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 2



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Fill in this information to identify your case:

Debtor 1                     Robert Daniel Fisher
                             First Name                    Middle Name                       Last Name

Debtor 2                     Kimberly Grace Fisher
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                MIDDLE DISTRICT OF PENNSYLVANIA

Case number           1:23-bk-01207
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Internal Revenue Service                            Last 4 digits of account number                            $5,273.17                $0.00           $5,273.17
             Priority Creditor's Name
             P.O. Box 7346                                       When was the debt incurred?             01/1/2017
             Philadelphia, PA 19101-7346
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:
             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No
                                                                     Other. Specify
             Yes                                                                       2017 forgot to include a disbursement from 401K.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 19
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Debtor 1 Robert Daniel Fisher
Debtor 2 Kimberly Grace Fisher                                                                            Case number (if known)            1:23-bk-01207

           Pennsylvania Department of
2.2        Revenue                                                Last 4 digits of account number                           $3,460.06                    $0.00             $3,460.06
           Priority Creditor's Name
           P O Box 280946                                         When was the debt incurred?           01/1/2008
           Harrisburg, PA 17128-0946
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          2008 Debt/Docket 2015-NO-005008-34. Not sure
                                                                                        total now owed


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Avant/WebBank                                             Last 4 digits of account number         5324                                                           $481.00
           Nonpriority Creditor's Name
           222 North Lasalle Street                                                                          Opened 10/21 Last Active
           Suite 1600                                                When was the debt incurred?             12/22
           Chicago, IL 60601
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 19




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Debtor 1 Robert Daniel Fisher
Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.2      Bruce D. Klaskin DO                                 Last 4 digits of account number                                                       $405.84
         Nonpriority Creditor's Name
         P. O. Box 175                                       When was the debt incurred?           06/1/2022
         Northumberland, PA 17857-0175
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.3      Capital One                                         Last 4 digits of account number       9207                                          $1,321.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 01/19 Last Active
         Po Box 30285                                        When was the debt incurred?           08/22
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.4      Capital One                                         Last 4 digits of account number       9941                                            $598.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 09/21 Last Active
         Po Box 30285                                        When was the debt incurred?           02/23
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 19




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Debtor 1 Robert Daniel Fisher
Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.5      Capital One                                         Last 4 digits of account number       9507                                            $419.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 03/21 Last Active
         Po Box 30285                                        When was the debt incurred?           02/23
         Salt Lake City, UT 84130
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6      Caro Federal Credit Un                              Last 4 digits of account number       1131                                          $9,972.00
         Nonpriority Creditor's Name
                                                                                                   Opened 08/20 Last Active
         4480 Rosewood Drive                                 When was the debt incurred?           12/03/22
         Columbia, SC 29209
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.7      Caro Federal Credit Un                              Last 4 digits of account number       1130                                          $8,232.00
         Nonpriority Creditor's Name
                                                                                                   Opened 08/20 Last Active
         4480 Rosewood Drive                                 When was the debt incurred?           9/30/22
         Columbia, SC 29209
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 19




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Debtor 1 Robert Daniel Fisher
Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.8      Caro Federal Credit Un                              Last 4 digits of account number       1126                                            $700.00
         Nonpriority Creditor's Name
                                                                                                   Opened 12/08 Last Active
         4480 Rosewood Drive                                 When was the debt incurred?           12/15/22
         Columbia, SC 29209
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Unsecured


4.9      Carolina FCU                                        Last 4 digits of account number       1126                                          Unknown
         Nonpriority Creditor's Name
                                                                                                   Opened 2/16/13 Last Active
         4480 Rosewood Drive                                 When was the debt incurred?           10/14/20
         Columbia, SC 29209
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Check Credit Or Line Of Credit


4.1
0        Chase Card Services                                 Last 4 digits of account number       7240                                          $7,784.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/20 Last Active
         P.O. 15298                                          When was the debt incurred?           4/15/22
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.1
1        Cherry Tree Foot and Ankle                          Last 4 digits of account number       5763                                             $59.29
         Nonpriority Creditor's Name
         798 Cherry Tree Court                               When was the debt incurred?           09/19/2022
         Hanover, PA 17331
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.1
2        Citibank/The Home Depot                             Last 4 digits of account number       3678                                          $5,373.00
         Nonpriority Creditor's Name
         Citicorp Credit Srvs/Centralized Bk                                                       Opened 04/21 Last Active
         dept                                                When was the debt incurred?           10/18/22
         Po Box 790034
         St Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
3        Columbia Gas                                        Last 4 digits of account number       0003                                            $135.60
         Nonpriority Creditor's Name
         P. O. Box 742537                                    When was the debt incurred?           05/16/2019
         Cincinnati, OH 45274-2537
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Prev. address 91 Hemlock Drive, Hanover,
             Yes                                                Other. Specify   PA 17331




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.1
4        Credit One Bank                                     Last 4 digits of account number       3927                                            $507.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Department                                                               Opened 02/22 Last Active
         Po Box 98873                                        When was the debt incurred?           12/22
         Las Vegas, NV 89193
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
5        Johns Hopkins Medicine                              Last 4 digits of account number                                                       $116.47
         Nonpriority Creditor's Name
         P. O. Box 417714                                    When was the debt incurred?
         Boston, MA 02241-7714
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.1
6        Joseph, Mann & Creed                                Last 4 digits of account number       0785                                            $431.98
         Nonpriority Creditor's Name
         8948 Canyon Falls Blvd., Suite 200                  When was the debt incurred?
         Twinsburg, OH 44087
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Balance due to Hanover/Citizen Insurance.
             Yes                                                Other. Specify   Still have monthly debt to them separate.




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.1
7        Keystone Credit Services, LLC                       Last 4 digits of account number       4645                                            $369.00
         Nonpriority Creditor's Name
         664 Furnace Hills Pike                              When was the debt incurred?
         Lititz, PA 17543
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Owed to Smith's Sanitary Septic Service


4.1
8        Kohls/Capital One                                   Last 4 digits of account number       7221                                          $3,133.00
         Nonpriority Creditor's Name
         Attn: Credit Administrator                                                                Opened 11/18 Last Active
         Po Box 3043                                         When was the debt incurred?           8/15/22
         Milwaukee, WI 53201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.1
9        LNV Funding                                         Last 4 digits of account number       unk                                           $1,983.00
         Nonpriority Creditor's Name
         P. O. Box 1269                                      When was the debt incurred?
         Atlanta, GA 29602
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 In addition to Capital One Collection on
             Yes                                                Other. Specify   report. I cannot find statement for ref #.




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.2
0        Magisterial District 19-3-06                        Last 4 digits of account number       2022                                            $183.50
         Nonpriority Creditor's Name
         4824 Walter's Hatchery Road                         When was the debt incurred?
         Spring Grove, PA 17362
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
1        McGlaughlin's Refrigeration                         Last 4 digits of account number                                                       $470.05
         Nonpriority Creditor's Name
         380 Blacksmith Shop Road                            When was the debt incurred?           06/20/2020
         Gettysburg, PA 17325
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
2        Met Ed                                              Last 4 digits of account number       5132                                          $6,351.28
         Nonpriority Creditor's Name
         P. O. Box 16001                                     When was the debt incurred?           02/7/2023
         Reading, PA 19612-6001
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.2
3        Met Ed                                              Last 4 digits of account number       Unknown                                       $1,000.00
         Nonpriority Creditor's Name
         P. O. Box 16001                                     When was the debt incurred?           01/1/2014
         Reading, PA 19612-6001
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.2
4        National Recovery Agency                            Last 4 digits of account number       3029                                          $1,145.77
         Nonpriority Creditor's Name
         2491 Paxton Street                                  When was the debt incurred?
         Harrisburg, PA 17111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 UPMC Acct#-V00004983225, 5/18/18,
                                                                                 $668.73 & Acct#-V00004783866, 7/10/17,
             Yes                                                Other. Specify   $477.04


4.2
5        National Recovery Agency                            Last 4 digits of account number       8097                                            $340.17
         Nonpriority Creditor's Name
         2491 Paxton Street                                  When was the debt incurred?
         Harrisburg, PA 17111
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Wellspan Health and Wellspan Physicians
                                                                                 NRA Account No.: 343021813; 34647207;
                                                                                 35795956; 35795957; 35795955 and
             Yes                                                Other. Specify   35795959



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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.2
6        Navy FCU                                            Last 4 digits of account number       7138                                          $6,095.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/21 Last Active
         Po Box 3000                                         When was the debt incurred?           12/28/22
         Merrifield, VA 22119
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
7        Navy FCU                                            Last 4 digits of account number       7179                                          $1,193.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 02/19 Last Active
         Po Box 3000                                         When was the debt incurred?           12/28/22
         Merrifield, VA 22119
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.2
8        Navy Federal Credit Union                           Last 4 digits of account number       2230                                            $311.99
         Nonpriority Creditor's Name
         P. O. Box 3500                                      When was the debt incurred?
         Merrifield, VA 22119-3500
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Negative bal charged off for bank account.
             Yes                                                Other. Specify   Also possible OD funds due.




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.2
9        NCC                                                 Last 4 digits of account number       5929                                             $10.96
         Nonpriority Creditor's Name
         P. O. Box 9156                                      When was the debt incurred?
         Alexandria, VA 22304-0156
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
0        NCC                                                 Last 4 digits of account number       6614                                             $82.17
         Nonpriority Creditor's Name
         P. O. Box 9156                                      When was the debt incurred?
         Alexandria, VA 22304-0156
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
1        North Carroll Dental                                Last 4 digits of account number                                                        $65.00
         Nonpriority Creditor's Name
         2113 Hanover PIke                                   When was the debt incurred?
         Hampstead, MD 21074
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.3
2        Owings Energy                                       Last 4 digits of account number       3165                                            $779.16
         Nonpriority Creditor's Name
         2185 Richardson Road                                When was the debt incurred?           02/1/2022
         Westminster, MD 21158
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
3        Palisades Collection LLC                            Last 4 digits of account number       1806                                          $2,480.99
         Nonpriority Creditor's Name
         4660 Trindle Road                                   When was the debt incurred?           07/19/2006
         Camp Hill, PA 17011
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Open judgment from Member's 1st FCU.


4.3
4        Quest Diagnostics                                   Last 4 digits of account number       D110                                             $15.61
         Nonpriority Creditor's Name
         P. O. Box 9000                                      When was the debt incurred?
         South Windsor, CT 06074-9000
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.3
5        Resurgent Capital Services                          Last 4 digits of account number       0412                                            $624.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 04/17 Last Active
         Po Box 10497                                        When was the debt incurred?           09/16
         Greenville, SC 29603
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

                                                                                 Factoring Company Account Credit One
             Yes                                                Other. Specify   Bank N.A.


4.3
6        Revlon Solutions Inc.                               Last 4 digits of account number       4558                                          Unknown
         Nonpriority Creditor's Name
         PO Box 163279                                       When was the debt incurred?
         Columbus, OH 43216-3279
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.3
7        Services Cu                                         Last 4 digits of account number       0680                                            $792.00
         Nonpriority Creditor's Name
                                                                                                   Opened 8/05/20 Last Active
         1807 W Diehl Rd                                     When was the debt incurred?           1/02/23
         Naperville, IL 60563
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 14 of 19




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Debtor 1 Robert Daniel Fisher
Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.3
8        State Farm Ins. Subrogee of                         Last 4 digits of account number       7369                                          $10,351.79
         Nonpriority Creditor's Name
         Rodney Kimball                                      When was the debt incurred?
         113 E. Washington St DTB 8
         Bloomington, IL 61701
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.3
9        Syncb/Harbor Freight                                Last 4 digits of account number       6866                                             $52.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 08/21 Last Active
         Po Box 965060                                       When was the debt incurred?           01/23
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.4
0        Synchrony Bank/Lowes                                Last 4 digits of account number       7941                                           $2,024.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                                                          Opened 06/20 Last Active
         Po Box 965060                                       When was the debt incurred?           06/22
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.4
1        TMobile Bankruptcy Team                             Last 4 digits of account number       8611                                            $800.00
         Nonpriority Creditor's Name
         PO Box 53410                                        When was the debt incurred?
         Bellevue, WA 98015-3410
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify


4.4
2        Trac/CBCD/Citicorp                                  Last 4 digits of account number       9212                                          $2,406.00
         Nonpriority Creditor's Name
         Citicorp Credit/Centralized                                                               Opened 05/21 Last Active
         Bankruptcy                                          When was the debt incurred?           11/27/22
         Po Box 6497
         Sioux Falls, SD 57117
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Charge Account


4.4
3        Unifin, Inc.                                        Last 4 digits of account number       5259                                            $624.35
         Nonpriority Creditor's Name
         PO Box 4519                                         When was the debt incurred?
         Skokie, IL 60076-4519
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit One Bank xxxx0412




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 16 of 19




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Debtor 2 Kimberly Grace Fisher                                                                   Case number (if known)         1:23-bk-01207

4.4
4        UPMC                                                Last 4 digits of account number                                                     Unknown
         Nonpriority Creditor's Name
         200 Lothrop Street                                  When was the debt incurred?
         Pittsburgh, PA 15213-2582
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.4
5        UPMC                                                Last 4 digits of account number                                                     Unknown
         Nonpriority Creditor's Name
         200 Lothrop Street                                  When was the debt incurred?
         Pittsburgh, PA 15213-2582
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Medical


4.4
6        WellSpan Health                                     Last 4 digits of account number       4758                                          $1,618.30
         Nonpriority Creditor's Name
         P. O. Box 15119                                     When was the debt incurred?
         York, PA 17405-7119
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 17 of 19




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Debtor 2 Kimberly Grace Fisher                                                                       Case number (if known)          1:23-bk-01207

4.4
7         WellSpan Health                                       Last 4 digits of account number        1560                                                    $189.48
          Nonpriority Creditor's Name
          P. O. Box 15119                                       When was the debt incurred?
          York, PA 17405-7119
          Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                         Contingent
              Debtor 2 only                                         Unliquidated
              Debtor 1 and Debtor 2 only                            Disputed
              At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                Student loans
          debt                                                     Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                       report as priority claims

              No                                                    Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                   Other. Specify


Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
CBY Professional Services                                  Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
33 S Duke Street                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
York, PA 17401-1401
                                                           Last 4 digits of account number                    2221

Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Client Services, Inc.                                      Line 4.46 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
3451 Harry S. Truman Blvd.                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
Saint Charles, MO 63301-4047
                                                           Last 4 digits of account number                    5821

Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Paul F. D'Emilio, Esquire                                  Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
905 W. Sprout Road, Suite 105                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Springfield, PA 19064
                                                           Last 4 digits of account number

Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Radius Global Solutions, LLC                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
7831 Glenroy Road Suite 250-A                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
Minneapolis, MN 55439
                                                           Last 4 digits of account number

Name and Address                                           On which entry in Part 1 or Part 2 did you list the original creditor?
Scott & Associates, PC.                                    Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Michael A. Carrucoli                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
6 Kacey Court, Suite 203
Mechanicsburg, PA 17055
                                                           Last 4 digits of account number                    0157

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                            Total Claim
                        6a.   Domestic support obligations                                              6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                      6b.       $                     8,733.23
                        6c.   Claims for death or personal injury while you were intoxicated            6c.       $                         0.00
Official Form 106 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 18 of 19




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Debtor 2 Kimberly Grace Fisher                                                                          Case number (if known)    1:23-bk-01207

                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 8,733.23

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                82,027.75

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                82,027.75




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 19 of 19




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Fill in this information to identify your case:

Debtor 1                  Robert Daniel Fisher
                          First Name                         Middle Name              Last Name

Debtor 2                  Kimberly Grace Fisher
(Spouse if, filing)       First Name                         Middle Name              Last Name


United States Bankruptcy Court for the:               MIDDLE DISTRICT OF PENNSYLVANIA

Case number           1:23-bk-01207
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                      State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1



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Fill in this information to identify your case:

Debtor 1                   Robert Daniel Fisher
                           First Name                            Middle Name       Last Name

Debtor 2                   Kimberly Grace Fisher
(Spouse if, filing)        First Name                            Middle Name       Last Name


United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF PENNSYLVANIA

Case number           1:23-bk-01207
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1


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Fill in this information to identify your case:

Debtor 1                      Robert Daniel Fisher

Debtor 2                      Kimberly Grace Fisher
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF PENNSYLVANIA

Case number               1:23-bk-01207                                                                 Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation                                                        Operations Coordinator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                   Horizon Farm Credit

       Occupation may include student        Employer's address
                                                                                                               45 Aileron Ct.
       or homemaker, if it applies.
                                                                                                               Westminster, MD 21157

                                             How long employed there?                                                   19 Years, 8 Months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $         6,252.94

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $   6,252.94




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    Robert Daniel Fisher
Debtor 2    Kimberly Grace Fisher                                                                Case number (if known)    1:23-bk-01207


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $         6,252.94

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $        1,129.44
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $            0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $            0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $            0.00
     5e.    Insurance                                                                     5e.        $              0.00     $          781.30
     5f.    Domestic support obligations                                                  5f.        $              0.00     $            0.00
     5g.    Union dues                                                                    5g.        $              0.00     $            0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $            0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        1,910.74
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        4,342.20
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                 0.00 + $          4,342.20 = $           4,342.20
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $           4,342.20
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                 Robert Daniel Fisher                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Kimberly Grace Fisher                                                                 A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF PENNSYLVANIA                                            MM / DD / YYYY

Case number           1:23-bk-01207
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  18                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,482.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1

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Debtor 1     Robert Daniel Fisher
Debtor 2     Kimberly Grace Fisher                                                                     Case number (if known)      1:23-bk-01207

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 420.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  28.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 400.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                800.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                 125.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  184.66
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  300.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  457.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Dog Grooming                                                        21. +$                                                 50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,746.66
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,746.66
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,342.20
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,746.66

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -404.46

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2

       Case 1:23-bk-01207-HWV                         Doc 11 Filed 06/09/23 Entered 06/09/23 14:40:39                                                 Desc
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Fill in this information to identify your case:

Debtor 1                    Robert Daniel Fisher
                            First Name              Middle Name              Last Name

Debtor 2                    Kimberly Grace Fisher
(Spouse if, filing)         First Name              Middle Name              Last Name


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF PENNSYLVANIA

Case number              1:23-bk-01207
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                   12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                       Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                         Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Robert Daniel Fisher                                            X   /s/ Kimberly Grace Fisher
             Robert Daniel Fisher                                                Kimberly Grace Fisher
             Signature of Debtor 1                                               Signature of Debtor 2

             Date       June 9, 2023                                             Date    June 9, 2023




Official Form 106Dec                                Declaration About an Individual Debtor's Schedules




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Fill in this information to identify your case:

Debtor 1                  Robert Daniel Fisher
                          First Name                  Middle Name                   Last Name

Debtor 2                  Kimberly Grace Fisher
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          MIDDLE DISTRICT OF PENNSYLVANIA

Case number           1:23-bk-01207
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until             Wages, commissions,                              $0.00          Wages, commissions,                 $8,231.55
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1



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Debtor 1     Robert Daniel Fisher
Debtor 2     Kimberly Grace Fisher                                                                     Case number (if known)   1:23-bk-01207

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income          Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.      (before deductions
                                                                                exclusions)                                               and exclusions)

For last calendar year:                           Wages, commissions,                              $0.00          Wages, commissions,            $68,582.32
(January 1 to December 31, 2022 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business

For the calendar year before that:                Wages, commissions,                              $0.00          Wages, commissions,            $72,491.04
(January 1 to December 31, 2021 )               bonuses, tips                                                  bonuses, tips
                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income          Gross income
                                                Describe below.                 each source                    Describe below.            (before deductions
                                                                                (before deductions and                                    and exclusions)
                                                                                exclusions)
For the calendar year before that:                                                                 $0.00       Federal Tax Return                    $846.00
(January 1 to December 31, 2021 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 2



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Debtor 2     Kimberly Grace Fisher                                                                    Case number (if known)   1:23-bk-01207

      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      Caro Federal Credit Un                                                               $1,380.00          $24,866.00         Mortgage
      4480 Rosewood Drive                                                                                                        Car
      Columbia, SC 29209
                                                                                                                                 Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      Caro Federal Credit Un                                                                 $900.00            $4,001.00        Mortgage
      4480 Rosewood Drive                                                                                                        Car
      Columbia, SC 29209
                                                                                                                                 Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      TMobile Bankruptcy Team                                                              $1,350.00              $800.00        Mortgage
      PO Box 53410                                                                                                               Car
      Bellevue, WA 98015-3410                                                                                                    Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other Cell Phone Back
                                                                                                                               Balance - $450/month


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                         Status of the case
      Case number




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3



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Debtor 2     Kimberly Grace Fisher                                                                       Case number (if known)    1:23-bk-01207

      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      JPMorgan Chase Bank, N.A.                              Collection                   Court of Common Pleas                       Pending
      v.                                                                                  Adams County                                On appeal
      Kimberly G. Fisher                                                                  114 Baltimore Street
                                                                                                                                      Concluded
      23-SU-157                                                                           4th Floor
                                                                                          Gettysburg, PA 17325
                                                                                                                                   Judgement


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your          Value of property
      how the loss occurred                                                                                                 loss                               lost
                                                         Include the amount that insurance has paid. List pending
                                                         insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4



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Debtor 2      Kimberly Grace Fisher                                                                      Case number (if known)    1:23-bk-01207

Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Mooney Law                                                   Attorney Fees: To be paid by MetLife                     February 24,               $476.00
      230 York Street                                              Insurance $900                                           2023
      Hanover, PA 17331                                            Costs: $476 ($338 Filing Fee; $90 Credit
                                                                   Report; $40 Credit Counseling and
                                                                   Debtor Education; $8 My Case)


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 5



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Debtor 2      Kimberly Grace Fisher                                                                           Case number (if known)   1:23-bk-01207

      Name of Financial Institution and                      Last 4 digits of               Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                   closed, sold,            before closing or
      Code)                                                                                                              moved, or                         transfer
                                                                                                                         transferred
      Navy FCU                                               XXXX-                              Checking                                                      $0.00
      Attn: Bankruptcy                                                                          Savings
      Po Box 3000
                                                                                                Money Market
      Merrifield, VA 22119
                                                                                                Brokerage
                                                                                                Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?                 Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                                  have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access                 Describe the contents                Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                          have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                     Describe the property                           Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                                 Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and      know it
                                                                   ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6



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Debtor 2      Kimberly Grace Fisher                                                                          Case number (if known)   1:23-bk-01207

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                  ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                 Court or agency                            Nature of the case                   Status of the
       Case Number                                                Name                                                                            case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                         Describe the nature of the business                  Employer Identification number
       Address                                                                                                    Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)            Name of accountant or bookkeeper
                                                                                                                  Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                  Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Robert Daniel Fisher                                              /s/ Kimberly Grace Fisher
Robert Daniel Fisher                                                  Kimberly Grace Fisher
Signature of Debtor 1                                                 Signature of Debtor 2

Date      June 9, 2023                                                Date       June 9, 2023

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).
Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7



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Debtor 2     Kimberly Grace Fisher                                                       Case number (if known)   1:23-bk-01207




Official Form 107                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 8



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Fill in this information to identify your case:

Debtor 1                  Robert Daniel Fisher
                          First Name               Middle Name               Last Name

Debtor 2                  Kimberly Grace Fisher
(Spouse if, filing)       First Name               Middle Name               Last Name


United States Bankruptcy Court for the:        MIDDLE DISTRICT OF PENNSYLVANIA

Case number            1:23-bk-01207
(if known)                                                                                                               Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



   Creditor's         Caro Federal Credit Un                        Surrender the property.                            No
   name:                                                            Retain the property and redeem it.
                                                                    Retain the property and enter into a               Yes
   Description of        2017 GMC Acadia 88000 miles                Reaffirmation Agreement.
   property                                                         Retain the property and [explain]:
   securing debt:



   Creditor's         Caro Federal Credit Un                        Surrender the property.                            No
   name:                                                            Retain the property and redeem it.
                                                                    Retain the property and enter into a               Yes
   Description of 2014 Jeep Cherokee 125000                         Reaffirmation Agreement.
   property       miles                                             Retain the property and [explain]:
   securing debt: Vehicle: Vehicle currently not
                  running, needs $3,000 worth of
                  work.


   Creditor's         PennyMac Loan Services, LLC                   Surrender the property.                            No
   name:                                                            Retain the property and redeem it.
                                                                    Retain the property and enter into a               Yes


Official Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                                  page 1




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Debtor 2      Kimberly Grace Fisher                                                        Case number (if known)    1:23-bk-01207

    Description of 1992 Hunterstown Hampton Rd.                   Reaffirmation Agreement.
    property       New Oxford, PA 17350                          Retain the property and [explain]:
    securing debt: Value is CMA minus 7% Cost of
                   Sale                                        Retain and Pay

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases                                                                    Will the lease be assumed?

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Lessor's name:                                                                                                         No
Description of leased
Property:                                                                                                              Yes

Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

X     /s/ Robert Daniel Fisher                                           X /s/ Kimberly Grace Fisher
      Robert Daniel Fisher                                                   Kimberly Grace Fisher
      Signature of Debtor 1                                                  Signature of Debtor 2

      Date       June 9, 2023                                            Date     June 9, 2023




Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 2




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Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                  122A-1Supp:
Debtor 1              Robert Daniel Fisher
Debtor 2              Kimberly Grace Fisher                                                               1. There is no presumption of abuse
(Spouse, if filing)
                                                                                                          2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:        Middle District of Pennsylvania
                                                                                                              applies will be made under Chapter 7 Means Test
                                                                                                              Calculation (Official Form 122A-2).
Case number           1:23-bk-01207
(if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                              qualified military service but it could apply later.
                                                                                                          Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                   12/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
                Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                   Column B
                                                                                                      Debtor 1                   Debtor 2 or
                                                                                                                                 non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                              0.00      $        6,461.20
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                              0.00      $              0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                              0.00      $              0.00
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
       Gross receipts (before all deductions)                         $      0.00
       Ordinary and necessary operating expenses                     -$      0.00
       Net monthly income from a business, profession, or farm $             0.00 Copy here -> $                       0.00      $              0.00
  6. Net income from rental and other real property
                                                                                Debtor 1
       Gross receipts (before all deductions)                         $      0.00
       Ordinary and necessary operating expenses                     -$      0.00
       Net monthly income from rental or other real property         $       0.00 Copy here -> $                       0.00      $              0.00
                                                                                                      $                0.00      $              0.00
  7. Interest, dividends, and royalties




Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                         page 1


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Debtor 2     Kimberly Grace Fisher                                                                  Case number (if known)    1:23-bk-01207


                                                                                                Column A                      Column B
                                                                                                Debtor 1                      Debtor 2 or
                                                                                                                              non-filing spouse
  8. Unemployment compensation                                                                  $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                     $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                    0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below..
               .                                                                              $                    0.00       $           0.00
                                                                                                $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                  +   $                  0.00       $           0.00

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.           $             0.00       +   $       6,461.20     =   $      6,461.20

                                                                                                                                              Total current monthly
                                                                                                                                              income

Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
      12a. Copy your total current monthly income from line 11                                            Copy line 11 here=>             $          6,461.20

             Multiply by 12 (the number of months in a year)                                                                                      x 12
      12b. The result is your annual income for this part of the form                                                               12b. $          77,534.40

  13. Calculate the median family income that applies to you. Follow these steps:

      Fill in the state in which you live.                              PA

      Fill in the number of people in your household.                    3
      Fill in the median family income for your state and size of household.                                                        13.   $        100,888.00
      To find a list of applicable median income amounts, go online using the link specified in the separate instructions
      for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
      14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                    Go to Part 3. Do NOT fill out or file Official Form 122A-2.
      14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                    Go to Part 3 and fill out Form 122A–2.
Part 3:        Sign Below
             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

            X /s/ Robert Daniel Fisher                                            X /s/ Kimberly Grace Fisher
               Robert Daniel Fisher                                                  Kimberly Grace Fisher

Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                         page 2



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Debtor 2    Kimberly Grace Fisher                                                                  Case number (if known)   1:23-bk-01207

              Signature of Debtor 1                                                     Signature of Debtor 2
       Date June 9, 2023                                                         Date June 9, 2023
            MM / DD / YYYY                                                            MM / DD / YYYY
            If you checked line 14a, do NOT fill out or file Form 122A-2.
            If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                               Chapter 7 Statement of Your Current Monthly Income                                          page 3



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                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2022 to 04/30/2023.




Official Form 122A-1                    Chapter 7 Statement of Your Current Monthly Income                                  page 4



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                              Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 11/01/2022 to 04/30/2023.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Horizon Farm Credit
Income by Month:
 6 Months Ago:                      11/2022              $5,505.64
 5 Months Ago:                      12/2022              $5,505.64
 4 Months Ago:                      01/2023              $5,506.56
 3 Months Ago:                      02/2023              $5,506.56
 2 Months Ago:                      03/2023             $11,069.78
 Last Month:                        04/2023              $5,673.02
                        Average per month:               $6,461.20




Official Form 122A-1                     Chapter 7 Statement of Your Current Monthly Income                                  page 5



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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1



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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2



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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3



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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4



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                                                        United States Bankruptcy Court
                                                           Middle District of Pennsylvania
             Robert Daniel Fisher
 In re       Kimberly Grace Fisher                                                                            Case No.      1:23-bk-01207
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     900.00
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $                     900.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):      To be paid by MetLife Insurance.

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 9, 2023                                                             /s/ Nicholas G. Platt
     Date                                                                     Nicholas G. Platt 327239
                                                                              Signature of Attorney
                                                                              Mooney Law
                                                                              230 York Street
                                                                              Hanover, PA 17331
                                                                              (717) 632-4656 Fax: (717) 632-3612
                                                                              ngp@mooney4law.com
                                                                              Name of law firm




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                                              United States Bankruptcy Court
                                                  Middle District of Pennsylvania
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                                                                   Debtor(s)                   Chapter     7




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: June 9, 2023                                     /s/ Robert Daniel Fisher
                                                       Robert Daniel Fisher
                                                       Signature of Debtor

Date: June 9, 2023                                     /s/ Kimberly Grace Fisher
                                                       Kimberly Grace Fisher
                                                       Signature of Debtor




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